Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 1 of 8 PageID# 25689




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

              Plaintiffs,

        v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN                     CASE NO. 1:20-CV-484-RDA-IDD
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,

              Defendants.


  WILMINGTON TRUST, NATIONAL
  ASSOCIATION, AS TRUSTEE FOR THE
  REGISTERED HOLDERS OF THE
  BANCORP COMMERCIAL MORTGAGE
  2019-CRE6 TRUST, COMMERCIAL
  MORTGAGE PASS-THROUGH
  CERTIFICATES,

              Intervenor-Interested Party.




              RESPONSE OF RECEIVER TO SUGAR CREEK LENDER’S
                  MOTION TO MODIFY RECEIVERSHIP ORDER
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 2 of 8 PageID# 25690




          Mark A. Roberts (the “Receiver”), as receiver of WDC Holdings LLC dba Northstar

  Commercial Partners LLC (“WDC”), R. Brian Watson (“Mr. Watson” and collectively with WDC,

  the “Watson Defendants”), and their respective assets, appointed pursuant to this Court’s Order

  Appointing Receiver and Ordering Turnover of Property to the Receiver [Dkt. 433] (the

  “Receivership Order”), files this response (the “Response”) to the motion [Dkt. 1024] (the “Lender

  Motion”) of intervenor Wilmington Trust, National Association, as Trustee for the Registered

  Holders of the Bancorp Commercial Mortgage 2019-CRE6 Trust, Commercial Mortgage Pass-

  Through Certificates (the “Sugar Creek Lender”), and its supporting memorandum of law [Dkt.

  1025] (the “Lender Supporting Memorandum”), seeking to modify the Receivership Order, and

  respectfully states as follows:

                                                 Introduction

          After finding the Watson Defendants to be in contempt for their repeated failure and refusal

  to comply with this Court’s orders, the Court appointed the Receiver to assume exclusive control

  over and administer the Watson Defendants’ assets. In its Receivership Order, the Court directed

  the Receiver—an experienced restructuring professional who, as an officer of the Court, is required

  to carry out the terms of the Receivership Order—to fulfill various roles on behalf of the Watson

  Defendants, including among other functions, serving as manager of a limited liability company

  that indirectly owns a suburban Houston office building located at 77 Sugar Creek Boulevard,

  Sugar Land, Texas (the “Sugar Creek Property”). 1

          After his appointment, the Receiver determined that the Sugar Creek Property was worth

  substantially less than the premium purchase price paid by the Sugar Creek Owner in 2019 to


  1
   The owner of the property, 77 Sugar Creek DE, LLC (“Sugar Creek Owner”), is identified on Exhibit A to the
  Receivership Order. The Receiver, acting through an entity controlled by Mr. Watson (and thus subject to the
  Receivership Order), serves as manager for 77 Sugar Creek, LLC (“Sugar Creek Parent”), which is the sole owner
  and managing member of Sugar Creek Owner.

                                                        2
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 3 of 8 PageID# 25691




  acquire the Sugar Creek Property, and that other recent developments, including interest rate

  increases and the broader deterioration of the suburban office real property market, have only put

  further downward pressure on the value of the Sugar Creek Property. 2 Furthermore, like many of

  Mr. Watson’s real estate investments, in addition to the substantial secured debt borrowed to

  acquire the Sugar Creek Property, the Sugar Creek Property was acquired using over $8 million in

  equity raised from outside investors, and those outside investors are generally entitled to payment

  from proceeds of the Sugar Creek Property before Mr. Watson can recover anything on his own

  interests.    As a result, Mr. Watson’s economic interests in the Sugar Creek Property are

  substantially underwater. Further, Mr. Watson executed a personal guaranty in favor of the Sugar

  Creek Lender of certain obligations under the loan documents, thus potentially exposing Mr.

  Watson to substantial liabilities.

           Despite these challenging circumstances, which were compounded by a loan default and

  an approaching loan maturity date, the Receiver—acting as manager of the applicable entity on

  behalf of Mr. Watson—sought in good faith to obtain value from the Sugar Creek Property while

  also seeking to preserve the outside investors’ equity positions. 3 Notwithstanding such efforts,

  however, the Receiver was unable to consummate a transaction that would satisfy the demands of

  the Sugar Creek Lender.


  2
    Like many other office properties, the Sugar Creek Property lost tenants during the course of the COVID-19
  pandemic as a result of remote work trends and changing corporate real estate uses. Before the Receiver’s
  appointment, occupancy in the Sugar Creek Property had decreased materially from the levels present at the time the
  building was acquired in 2019. Due to these reductions in occupancy, the Sugar Creek Property’s value—which is
  generally a product of the rental income it produces—remains well below its 2019 level.
  3
    For example, in March 2022, the Receiver negotiated an agreement with one of the existing outside investors under
  which such investor would acquire Mr. Watson’s management rights and other interests in Sugar Creek Parent and
  pursue its own restructuring of the loan. This transaction was designed to allow the outside investors to retain their
  equity positions in Sugar Creek Parent, allow the Receiver to monetize Mr. Watson’s management rights, and permit
  the lender to work out loan restructuring issues with the new manager. However, the proposed purchaser has advised
  the Receiver that it would not consummate the proposed transaction. The Receiver also sought out and obtained
  purchase proposals for the Sugar Creek Property. However, none of these proposals were sufficient to satisfy the full
  amount of the Sugar Creek Lender’s debt.

                                                            3
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 4 of 8 PageID# 25692




         Accordingly, on September 23, 2022, after obtaining permission from the Court to

  intervene in this action, the Sugar Creek Lender filed the Lender Motion seeking relief from the

  Receivership Order to permit the Sugar Creek Lender to exercise all of its rights and remedies

  under the applicable loan documents. Prior to the filing of the Lender Motion, the Receiver made

  a proposal to the Sugar Creek Lender to resolve the relief requested therein by the Sugar Creek

  Lender, as well as certain related disputed issues, and has continued to provide information and

  documentation regarding such proposal in an effort to facilitate a global resolution. The parties

  have reached an agreement in principle regarding such resolution (subject to the Sugar Creek

  Lender’s further diligence on certain factual issues), and the Receiver anticipates that the parties

  may submit a consent order prior to the scheduled hearing on the Lender Motion to reflect such

  resolution. Such consensual resolution, upon approval of the Court, would render the Lender

  Motion to be moot.

         Given the controlling deadlines, the Receiver submits this Response to the relief sought in

  the Lender Motion, though the Receiver anticipates the Lender Motion may be superseded by the

  subsequent consent motion. In the event the Court ultimately considers the Lender Motion, the

  Receiver asks the Court to deny the Sugar Creek Lender’s request to modify the Receivership

  Order due to the overbreadth of the relief requested therein and the significant disruptions that

  would result from such relief, as described below.




                                                   4
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 5 of 8 PageID# 25693




                                                   Response

          In its Receivership Order, this Court approved a broad injunction to protect the receivership

  res from value-destructive creditor activity that would harm the parties in the above-captioned

  case.

          All persons, including employees, agents, creditors, banks, investors, or others,
          with notice of this Order, are enjoined from in any way disturbing the Assets and
          from prosecuting any actions or proceedings designed to collect their debts or
          which involve the Receiver or which affect the property of Defendants to the extent
          that the same would interfere with or disturb these receivership proceedings,
          without the permission of this Court; provided, however, that nothing herein shall
          preclude any party with standing from seeking relief from this Order on proper
          application and after notice and a hearing. Any actions in violation of this
          Paragraph shall be null and void as acts in contravention of this Order.

  Receivership Order, § 11.

          The Lender Motion offers no evidence of the value of the Sugar Creek Property and

  includes no assertion that its requested relief will not impair the Assets or otherwise disrupt the

  receivership process. Even if the Sugar Creek Lender fulfilled its burden to establish that cause

  exists to modify the Receivership Order, the Sugar Creek Lender has made no effort to tailor its

  requested relief to limit harm from such value-destructive creditor action on the limited

  receivership res. Instead, the Sugar Creek Lender merely notes the existence of defaults and offers

  a proposed order providing broad, blanket relief to authorize the Sugar Creek Lender:

          to assert any and all remedies available to it under the controlling Loan Documents
          (as defined in the Memorandum of Law supporting the Motion) and applicable law
          against 77 Sugar Creek DE, LLC (the “Borrower”), Robert Brian Watson (the
          “Guarantor”) and the collateral owned by Borrower …

  Dkt. 1024-1, p. 2.

          The Sugar Creek Lender’s proposed order would not only authorize the Sugar Creek

  Lender to pursue foreclosure of its liens in the Sugar Creek Property, which in itself would be

  highly disruptive, but would also authorize the Sugar Creek Lender to pursue unspecified remedies

                                                   5
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 6 of 8 PageID# 25694




  against Mr. Watson and the Sugar Creek Owner under the Guaranty and other loan documents,

  which would impose substantial burdens on the Receiver given the limited resources available to

  fund litigation defense and the unwarranted distractions that would result from litigation and any

  resultant judgment. The stay provision in the Receivership Order is intended to avoid just these

  types of disruptions.

         Notably, the Sugar Creek Lender’s proposed order goes well beyond disturbing the

  receivership res to broadly undermine this Court’s Receivership Order more generally:

         the Lender, any subsidiary wholly-owned by the Lender or any entity authorized
         to act on behalf of the Lender, including, but not limited to its Special Servicer,
         CWCapital Asset Management, LLC, are entitled to enforce all of the Lender’s
         rights and remedies against the Collateral and/or against the Borrower or Guarantor,
         including, but not limited to, receivership and foreclosure and/or any other acts
         that the Lender may take to obtain possession and control of the Collateral and/or
         to enforce its rights and remedies under the Loan Documents and applicable law.

  Id. (emphasis added).

         Once again, the Sugar Creek Lender unnecessarily seeks to disturb the receivership res by

  allowing unnamed parties (“any entity authorized to act on behalf” of the Sugar Creek Lender) to

  exercise an undefined universe of rights and remedies (“any other acts that the Lender may take

  … to enforce its rights and remedies under the Loan Documents and applicable law”), including

  potentially authorizing the Sugar Creek Lender to place the Sugar Creek Owner into a separate

  receivership process or conceivably even commencing involuntary bankruptcy or separate

  receivership proceedings as to Mr. Watson himself, given his capacity as guarantor, thereby

  undermining the entire purpose of this Court’s Receivership Order.

         The Receiver anticipates that the Lender Motion may soon be rendered moot by a proposed

  consent order that resolves the relief requested in the Lender Motion along with other global issues

  involving the Sugar Creek Lender. In the event the Court considers the Lender Motion, the



                                                   6
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 7 of 8 PageID# 25695




  Receiver requests the Court to deny the Sugar Creek Lender’s request to modify the Receivership

  Order.

  Dated: October 7, 2022                     Respectfully submitted,

                                               /s/ Aaron G. McCollough
                                             Aaron G. McCollough (VSB 72146)
                                             McGuireWoods LLP
                                             77 West Wacker Drive, Suite 4100
                                             Chicago, IL 60601-1818
                                             Tel.: (312) 849-8256
                                             Fax: (312) 698-4522
                                             amccollough@mcguirewoods.com

                                             -and-

                                             Joseph S. Sheerin (VSB 47400)
                                             McGuireWoods LLP
                                             800 East Canal Street
                                             Richmond, VA 23219-3916
                                             Tel.: (804) 775-1135
                                             Fax: (804) 698-2076
                                             jsheerin@mcguirewoods.com
                                             Attorneys for the Receiver




                                                7
Case 1:20-cv-00484-RDA-IDD Document 1068 Filed 10/07/22 Page 8 of 8 PageID# 25696




                                   Certificate of Service

          I HEREBY CERTIFY that, on October 7, 2022, I caused the RESPONSE OF RECEIVER
  TO SUGAR CREEK LENDER’S MOTION TO MODIFY RECEIVERSHIP ORDER to be
  electronically filed and served using the CM/ECF System, which will transmit a Notice of
  Electronic Filing to counsel of record.


                                                  /s/ Aaron G. McCollough
                                                 Aaron G. McCollough




                                             8
